
B.S.A. Chiropractic, P.C., as Assignee of Jesse Ferraro, Appellant, 
againstELRAC, Inc., Respondent.




Kopelevich &amp; Feldsherova, P.C. (Galina Feldsherova, P.C.), for appellant.
Brand, Glick &amp; Brand, P.C., for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Kings County (Pamela L. Fisher, J.), entered November 21, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is denied.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that plaintiff's assignor had failed to appear for duly scheduled examinations under oath.
For the reasons stated in Eastcoast Metro. Med., P.C., as Assignee of Jesse Ferraro v ELRAC, Inc. (___ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2015-978 K C], decided herewith), the order is reversed and defendant's motion for summary judgment dismissing the complaint is denied.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: December 22, 2017










